OFD (12/1/11) asg                UNITED STATES BANKRUPTCY COURT                     U.S. BANKRUPTCY COURT
                                          District of Oregon                         DISTRICT OF OREGON
                                                                                           FILED
In re                                              ) Case No. 23−62260−dwh11
 Van's Aircraft, Inc.                              )                             December 5, 2023
Debtor(s)                                          ) ORDER AND NOTICE       Clerk, U.S. Bankruptcy Court
                                                   ) REGARDING FILING OF
                                                   ) DOCUMENT(S); AND NOTICE        BY asg DEPUTY
                                                   ) OF PROPOSED DISMISSAL
                                                   )

The bankruptcy CASE FILED on 12/4/23 has deficiencies.
7 DAYS TO FILE: The following required document(s) were not filed. You must file each listed document within
7 days of the FILED date of this order.

    All documents required with the petition in a small business Chap. 11 case per 11 U.S.C. §1116(1).

14 DAYS TO FILE: The following required document(s) were not filed. You must file each listed document
within 14 days of the CASE FILED date shown above.

    A completed current version of Summary of Assets and Liabilities (Official Form 206Sum), all
    Schedules required for the debtor, a signed Declaration Under Penalty of Perjury for Non−Individual
    Debtor (Official Form 202); and a signed Statement of Financial Affairs (Official Form 207). (Federal
    Rules of Bankruptcy Procedure 1007 & 1008)

    − NOTE: The accuracy and completeness of the creditor Schedules (i.e., D−H), and the required
    creditor mailing list which includes all entities listed on the Schedules, are the debtor's
    responsibility. Such Schedules will not be compared with any creditor mailing list. Entities listed on
    Schedules D−H that were not listed on the creditor mailing list filed with the debtor's Petition must
    be added using Local Form 728 unless the only change is to correct a previously listed creditor's
    address, or attorney for a previously listed creditor. (Local Bankruptcy Rule 1009−1.)


IT IS HEREBY ORDERED that, unless otherwise provided above, this case may be DISMISSED without
further notice to the debtor(s) if the deficiencies outlined above are not completely and accurately corrected
AND the documents FILED within the time indicated. Each document or item filed must show each
DEBTOR'S NAME and the CASE NUMBER. Any document or item required to be filed using a form must be
COMPLETED using the CURRENT VERSION of the form.

Dismissal for failure to correct the deficiencies noted above may make the debtor(s) ineligible to file
another petition for 180 days after dismissal pursuant to 11 USC §109(g)(1) and/or may limit the
automatic stay if another petition is filed within 1 year pursuant to 11 USC §362(c)(4).

                                                                                 Clerk, U.S. Bankruptcy Court




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